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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

IN RE: RANBAXY GENERIC DRUG APPLICATION
ANTITRUST LITIGATION

 

THIS DOCUMENT RELATES TO:

All Cases

 

 

MDL No. 2878

Master File No.
19-md-02878-NMG

JOINT MOTION TO AMEND CASE MANAGEMENT ORDER NO. 4

The parties submit this motion with the Court to address the schedule in this matter,

and possibly amend the Case Management Order No. 4. Because of logistical issues, including

restrictions put in place in response to the COVID-19 virus, there have been delays that may

make it difficult to complete fact discovery under the current deadlines. Under the Revised

Case Management Order No. 4 (ECF No. 192), fact discovery is set to be completed by June 24,

2020 and trial is set for October 21, 2021.

The parties believe that all pretrial matters can be completed, with any necessary

accommodations, in time for a January 2022 trial. Accordingly, the parties respectfully move

this Court to amend Case Management Order No. 4 to set a trial in January 2022. If the Court

grants this motion, the parties will confer and promptly submit a joint proposed case schedule

consistent with that timeline.

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In the event the Court declines to move the trial date, the parties request a short

telephonic conference to discuss the matter, and would make themselves available at the

Court’s convenience.
Dated: May 14, 2020

/s/ Robert Allen

Jay P. Lefkowitz, P.C.*
Devora W. Allon, P.C.*
Robert Allen*
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, NY 10022
Tel: (212) 446-4970
lefkowitz@kirkland.com
bob.allen@kirkland.com
* admitied pro hac vice

Counsel for Defendants

Respectfully submitted,

/s/ Gregory T. Arnold

Thomas M. Sobol (BBO# 471770)
Gregory T. Arnold (BBO# 632738)
Kristie A. LaSalle (BBO #692891)
HAGENS BERMAN SOBOL SHAPIRO LLP
55 Cambridge Parkway, Suite 301
Cambridge, MA 02142

Tel: (617) 482-3700

Fax: (617) 482-3003
tom@hbsslaw.com
grega@hbsslaw.com
kristiel@hbsslaw.com

Steve D, Shadowen (admitted pro hac vice)
Matthew C. Weiner (admitted pro hac vice)
Sean D. Nation (admitted pro hac vice)
HILLIARD & SHADOWEN LLP

919 Congress Ave., Suite 1325

Austin, TX 78701

Tel: (855) 344-3928
steve@hilliardshadowenlaw.com
matt@hilliardshadowenlaw.com
sean@hilliardshadowen.com

John D. Radice (admitted pro hac vice)
RADICE LAW FIRM

$4 Sunset Boulevard

Long Beach, NJ 08008

Tel: (646) 245-8502
jradice@radicelawfirm.com
Case 1:19-md-02878-NMG Document 218 Filed 05/15/20 Page 3 of 5
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Paul E. Slater (admitted pro hac vice)
Joseph M. Vanek (admitted pro hac vice)
David P. Germaine (admitted pro hac vice)
John Bjork (admitted pro hac vice)
SPERLING & SLATER, P.C.

55 W. Monroe Street, Suite 3500
Chicago, IL 60603

Tel.: ($12) 641-3200
pes@sperling-law.com
jvanek@sperling-law.com
dgermaine@sperling-law.com
jbjork@sperling-law.com
mslater@sperling-law.com

Joseph H. Meltzer (admitted pro hac vice)
Terence S. Ziegler (admitted pro hac vice)
Ethan J. Barlieb (admitted pro hac vice)
KESSLER TOPAZ MELTZER & CHECK, LLP
280 King of Prussia Road

Radnor, PA 19087

Tel: (610) 667-7706

jmeltzer@ktmc.com

tziegler@ktmc.com

ebarlieb@ktmc.com

Kenneth A. Wexler (pro hac vice pending)
Tyler Story (pro hac vice pending)
WEXLER WALLACE LLP

55 W. Monroe Street, Suite 3300
Chicago, IL 60603

Tel: (312) 346-2299
kaw@wexlerwallace.com
tjis@wexlerwallace.com
Case 1:19-md-02878-NMG Document 218 Filed 05/15/20 Page 4 of 5
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Sharon K. Robertson (admitted pro hac vice)
Donna M. Evans (BBO #554613)

Royce Zeisler (admitted pro hac vice)
COHEN MILSTEIN SELLERS & TOLL PLLC
88 Pine Street, 14 Floor

New York, NY 10005

Tel: (212) 838-7797
srobertson@cohenmilstein.com
devans@cohenmilstein.com
rzeisler@cohenmilstein.com

Counsel for Plaintiffs Meyer, Inc, Meyer
Distribution, Inc. and the Proposed Direct
Purchaser Class

Gerald Lawrence (PA ID #69079)
Renee A. Nolan (PA ID #316558)
William J. Olson (PA ID #322948)
LOWEY DANNENBERG, P.C.

One Tower Bridge

100 Front Street, Suite 520

West Conshohocken, PA 19428
Tel: (215) 399-4770
glawrence@lowey.com
rnolan@lowey.com
wolson@lowey.com

Peter D. St. Phillip (PA ID # 70027)
LOWEY DANNENBERG, P.C.

44 South Broadway

Suite 1100

White Plains, New York 10601
Tel:(914) 997-0500
pstphillip@lowey.com

Counsel for Plaintiff United Food and Commercial
Workers Health and Welfare

Fund of Northeastern Pennsylvania and the
Proposed End Payor Class
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James R. Dugan, II

David S. Scalia

TerriAnn Benedetto

THE DUGAN LAW FIRM, APLC
One Canal Place — Suite 1000
$65 Canal Street

New Orleans, LA70180

(504) 648-0180
jdugan@dugan-lawfirm.com
dscalia@dugan-lawfirm.com
tbenedetto@dugan-lawfirm.com

Allison Pham

Jessica Chapman

BLUE CROSS AND BLUE SHIELD OF LOUISIANA
5525 Reitz Avenue

P.O. Box 98029

Baton Rouge, Louisiana 80809

Tel.: (225) 295-2454

Fax: (225) 297-2760

Counsel for Louisiana Health Service and
Indemnity Company d/b/a Blue Cross and Blue

Shield of Louisiana, and HMO La.,, Inc. and the
Proposed End-Payor Class

CERTIFICATE OF SERVICE
I, Gregory T. Arnold, hereby certify that this document was electronically filed with the
Clerk of the Court for the District of Massachusetts by using the CM/ECF System, which will
provide notification of such filing on all registered CM/ECF users and electronic copies will be

sent to those indicated as non-registered ECF participants on this 14th day of May 2020.

Dated: May 14, 2020 /s/ Gregory T. Arnold
Gregory T. Arnold
